                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

LACEY KURT PAIGE,                               )
                                                )
                              Plaintiff,        )
                                                )
       v.                                       )           No. 17-03415-CV-S-BP
                                                )
STEVE HOWELL, et al.,                           )
                                                )
                              Defendants.       )

      ORDER DIRECTING PLAINTIFF TO FILE STIPULATION OF DISMISSAL
          OR SHOW CAUSE WHY CASE SHOULD NOT BE DISMISSED

       In May 2021, the Court was advised that the sole remaining claim – Plaintiff’s retaliation

claim against Defendant Michael Bowersox – had been resolved. However, a Stipulation of

Dismissal has not been filed and the case remains pending. The Court has informally contacted

Plaintiff on several occasions and has been advised that a stipulation was forthcoming, but none

has been filed. More recently, the Court’s informal inquiries have not received a response.

       Accordingly, Plaintiff shall file either a Stipulation of Dismissal or show cause why the

case should not be dismissed. Plaintiff’s response must be filed (not simply mailed) on or before

September 27, 2021. Failure to respond will result in the case being dismissed.

IT IS SO ORDERED.




                                                    /s/ Beth Phillips
                                                    BETH PHILLIPS, CHIEF JUDGE
DATE: September 17, 2021                            UNITED STATES DISTRICT COURT




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